Case 1:20-cv-01052-TSE-IDD Document 14 Filed 10/30/20 Page 1 of 2 PageID# 40




                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF VIRGINIA
                                 ALEXANDRIA DIVISION

CHARLOTTE CHARLES and TIM DUNN,                  )
Individually and as Co-Administrators of the     )
ESTATE OF HARRY DUNN, and                        )
NIALL DUNN, Individually,                        )
                                                 )      Case No. 1:20-cv-01052
              Plaintiffs,                        )
       v.                                        )
                                                 )
ANNE SACOOLAS and JONATHAN                       )
SACOOLAS,                                        )
                                                 )
              Defendants.                        )

                            DEFENDANTS’ MOTION TO DISMISS

       COME NOW Defendants, Anne Sacoolas and Jonathan Sacoolas, by counsel, and move

this court to dismiss this case under the doctrine of forum non conveniens. Alternatively,

Defendants move for partial dismissal of the Complaint pursuant to Fed. R. Civ. P. 12(b)(6).

Defendants rely upon the accompanying Memorandum in Support, filed simultaneously herein.

                                                        ANNE SACOOLAS
                                                        and
                                                        JONATHAN SACOOLAS
                                                        By Counsel


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Case 1:20-cv-01052-TSE-IDD Document 14 Filed 10/30/20 Page 2 of 2 PageID# 41




                            CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a copy of the foregoing Defendants’ Motion to Dismiss was
served via efiling on the 30th day of October, 2020 on the following:

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